Case 2:OO-cr-20220-SHI\/| Document 474 Filed 06/16/05 Page 1 of 2 Page|D 540

UNITED STATES DISTRICT COURT ""~'-'
WESTERN DISTRICT OF TENNESSEE 05 hFUI:_J 15 PH w 50
Western Division ~
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UNITED sTATEs 0F AMERICA _ w .E\N MEWH;S

 

_vs- Case No. 2:00cr20220-003-G

LAVELL BATES

 

ORDER OF DETENT|ON PEND|NG TR|AL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECT|ONS REGARD|NG DETENT|ON

LAVELL BATES
is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. LAVELL BATES
shall be afforded a reasonable opportunity for private consultation With defense counsel. On order of a Court of the
United States or on request of an attorney for the government, the person in charge of the corrections facility shall
deliver the Defendant to the United States marshal for the purpose of an appearance in connection with a Court
proceeding

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Dare; lime 16, 2005 cg /AM/Yv H\

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Thi's document entered on the docket heat fn com llance 47
with Hu|e 55 and/or 32(b) FHCrP gm "/:Z 115

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 474 in
case 2:00-CR-20220 was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

